USDC IN/ND case 3:17-cv-00503-JD-MGG document 38 filed 01/23/18 page 1 of 3


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION

                                                 )
 Puget BioVentures, LLC,                         )
                                                 )               Case No. 3:10-cv-463
        Plaintiff,                               )               Case No. 3:17-cv-503
 v.                                              )
                                                 )                     JD-MGG
 Medical Device Business Services, Inc.,         )
                                                 )
        Defendant.                               )
                                                 )


                          Joint Motion to Dismiss with Prejudice
       All claims and counterclaims asserted in parallel actions, Case Nos. 3:10-cv-463 and

3:17-cv-503, by and between Plaintiff Puget BioVentures, LLC (“PugetBV”) and Defendant

Medical Device Business Services, Inc. f/k/a DePuy Orthopaedics Inc. (“MDBS”) have

been settled and, pursuant to Fed. R. Civ. P. 41(a), those parties hereby jointly move the

Court to dismiss those claims and counterclaims, with prejudice, with each party bearing its

own costs, expenses, and attorneys’ fees.




Dated: January 23, 2018                              Respectfully submitted,



 /s/Patrick M. Arenz                            /s/Nathaniel C. Love

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USDC IN/ND case 3:17-cv-00503-JD-MGG document 38 filed 01/23/18 page 2 of 3


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USDC IN/ND case 3:17-cv-00503-JD-MGG document 38 filed 01/23/18 page 3 of 3



                                     Certificate of Service

         I hereby certify that all counsel of record who are deemed to have consented to

electronic service are being served today, January 23, 2018, with a true and correct copy of

the foregoing documents via the Court’s CM/ECF system.



                                                   /s/Mary Pheng



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